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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
CRIM. CASE NO: 95-CR-50061
Plaintiff,
HONORABLE BERNARD A. FRIEDMAN
Vv. SENIOR U.S. DISTRICT JUDGE

DION ERIC SAVAGE, SR.,
Defendant.
/
FIRST STEP ACT SUPPLEMENTAL MOTION WITH "RECENT

PERTINENT AND SIGNIFICANT AUTHORITIES“ THAT SUBVERTS
THE GOVERNMENT'S POSITIONS FOR DENIAL OF 1SA RELLEF

 

NOW COMES Dion Savage, proceeding Pro Se in the above
captioned-matter. Mr. Savage invokes the legal doctrine as
prescribed under Haines v. Kerner, 404 U.S. 519, 520-21 (1972),
in the ingtant proceedings.

Mr. Savage moves the Court to supplement his 1SA motion
with the following "recent pertinent & significant authorities"
that undoubtedly undermines the government's positions for
denial of First Step Act relief:

In U.S. v. McDonald, F.3d, No. 19-1221 (8th Cir.
Dec. 11, 2019), the Court held:

The First Step Act applies to offenses, not conduct,

see First Step Act § 404(a), and it is McDonald’s —

statute of conviction that determines his eligibility

for reliet, see, e.g-., U.S. v. Beamus, No. 19-5533,
2019 WL 6207055, at *3 (oth Cir. Nov. 21, 2019); 1/

U.S. v. Wirsing, No. 19-6381, 2019 WL 6139017, at *9
(4th Cir. OToT. Id.

 

1/ Under 6th R.Cir.R. 206(c) the decision in Beamus, supra is binding on

This Court as to it is the "statute of conviction” that determines the

eligibility of the First Step Act of 2018. Darrdplv. [City Gf Oak/eBar 55
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F.3d 301, 309 (6th Cir. 2001).
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The ruling in McDonald (citing Wirsing and Beamus) clearly
subverts the government's position, that conduct offense controls
the eligibility of the 1SA.

In U.S. v. Wirsing, No. 19-6381, 2019 WL 6139017 (4th Cir.
Nov. 20, 2019), the Court squarely answered the government's
argument with respect to the 1SA conditions eligibility on
whether a defendant's relevant offense conduct (the 1.5 kilograms
of crack that triggered the MM life sentence under § 848(b) or
the 101.5 kilograms of crack that was NOT adopted by Judge Gadola
and was objected to and is unfounded), leads to a different
statutory sentencing range than that applicable at my 10/21/97
sentencing hearing. And the government's argument as to
interpreting § 404(a):

By referring to a "violation" that was "committed"

on a particular date, Section 404(a) sensibly

grounds the eilibility inquiry in the actual conduct

involved in the defendant's violation, rather than.

the statute under which the defendant was convicted. Id.
See [docket entry 1012, at pg. 5-10].

The Court in Wirsing explicitly held, contrary to the
government aforementioned argument:

In Defendant's view, the phrase ' ‘the statutory
penalties for which" refers to "a Federal criminal
statute." The result of that interpretation would

be that any inmate serving a sentence for pre-August

3, 2010 violations of 21 U.S.C. § 841(b)(1)(A) (424)

or (B)(iii), both of which were modified by Section

2 of the Fair Sentencing Act, is serving "a sentence
for a covered offense" and may seek a sentence
reduction under the First Step Act. First Step Act

§ 404(b), 132 Stat. at 5222. We agree that this is
the correct interpretation of the statute. Id.

 
 

 

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Mr. Savage's approach was a correct interpretation of Section
404(a)-(b), contrary to what the government argued in its
response. And that is, the government held to make matters
worse, under the defense approach, nearly every defendant charged
under Section 841(b)(1)(A) or (b)(1)(B) before the Fair Sentencing
Act would not) be eligible for a sentence reduction. See [docket
entry 1012, at pg. 11-12].

This is exactly what Wirsing argued as to the interpretation
of Section (a)-(b), and the Court categorically agreed that this
is the correct interpretation of the statute.

In Wirsing, the government had an alternative reading of the
statute which rested on two assumptions: first, that "the

statutory penalties for which refers to "a violation;" and second,

that "a violation" is determined by reference to the conduct
attributed to the count at issue, rather than by reference to the
conviction. The Court in Wirsing ruled that the government must
establish the first point in order to reach. the second. Id. The
Court held that they disagree with the government in the first
stage of the analysis, and need not examine the second.

The most natural reading of the First Step Act's
definition of "covered offense" is "the statutory
penalties for which were modified by [certain sections
of the Fair Sentencing Act ]" refers to "a Federal
criminal statute" rather than "a violation of a
Federal criminal statute." Id. § 404(a). A general
rule of statutory interpretation is that modifiers
attach to the closet noun; courts shoud not interpret
statutes in such a way as to "divorce a noun from the
modifier next to it without some extraordinary reason.
Id. .... Moreover, Defendant's interpretation is
supported by the statutory background in which the
 

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First Step Act was enacted and which it incorporates.
Congress enacted the First Step Act at a time when
some, but not all, pre-Fair Sentencig Act inmates had
received relief by reference to their offense conduct
through application of the post-Fair Sentencing Act
Guidelines amendments. On the face of the statute,
Congress's clear intent was to apply the Fair
Sentencing Act to pre-Fair Sentencing Act offenders,
including those who were heretofore ineligible for
such relief. Congress listed specific limitations
in the First Step Act, includin emphasizing district
courts’ discretion. 1SA § 4Oule). There is no
indication that Congress intended a complicated and
eligibility- limiting determination at the "covered
offense" stage of the analysis. Id. § 404(a), 132
Stat. at 5222. Id. .

Accordingly, in light of Walker, supra, there is no doubt that

§§ 848(b)/841(b)(1)(B) (iii) is a “covered offense, and that the
§§848(b) /841(b) (1) (B) (444) statute "were modified by" section

2 of the Fair Sentencing Act and were committed before August

3, 2010 and nor has Mr. Savage previously filed a § 404 motion
that was denied on the merits after a complete review. § 404(c).
Thus, Mr. Savage is indeed eligible for a reduced sentence of
240 months for the § 848(a) that the grand jury returned their
indictment for and the offense for which the Petit Jury rendered
their verdict on (Fifth Amendment Grand Jury Right and Sixth
Amendment Notice and Jury Trial Right, Alleyne, 133 S.Ct. ay
(2155, 2161-62). Wirsing, supra ("We agree and adopt this

understanding") (emphasis added).

 

2/ U.S. v. Maupin, 2019 U.S. App. 9-10 n. 2 (4th Cir. Sept. 9, 2019) (This
interpretation of Section 404 comports with Congress's use of the broad
phrase "a Federal criminal statute. Congress easily could limited the reach
of Section 404 to the five statutory provisions directly amended by Sections
2 and 3 of the Fair Sentencing Act, but it did not).. Now see [docket entry
-1012, at pg. 9]: "... the court did not impose a sentence for a covered
offense," and the defendant is ineligible for a reduced sentence." Id.

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-Mr.:Savage seeks a sentence reduction for "time served"
for the § 848(a) I was charged with in the Second Superseding
Indictment as to Count One, and .that is, 20 years.

CERTIFICATE OF SERVICE

 

I hereby certify that the foregoing Supplemental Motion

il,

     
 

has been placed in U.S. First Class this day of December

 

Benjamin C. Coats, AUSA . x /

211 W. Fort Street Dion Eric Savage, Sr. 19/34-039
Suite 2001 FCI Pekin

Detroit, Mich 48226 , P.O. Box 500

Pekin, IL 61555
 

Dion E. Savage 19734-039
Fadaral Correctional. Institution
P.O. Box 5000

Pekin,. IL 61555

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Hon, Bernard A Friedman
231 W Lafayette BLVD

Detroit, Ml 48226 A E ¢ E t

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